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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
              Plaintiff,                    )
                                            )     No. 95 CR 242-6
      vs.                                   )     Judge Robert Gettleman
                                            )
ANDRE WILLIAMS,                             )
                                            )
              Defendant.                    )

            GOVERNMENT=S RESPONSE TO ANDRE WILLIAMS=
             RENEWED MOTION TO CORRECT THE RECORD

      THE UNITED STATES OF AMERICA, by its attorney, ZACHARY T.

FARDON, United States Attorney for the Northern District of Illinois,

respectfully submits this Response to Andre Williams' March 6, 2015 Motion

to Correct the Record. Williams moves, pursuant to Fed.R.Crim.P. 36, for an

“amended updated version” of his presentence investigation report, correcting

the “clerical” error that classifies him as a career offender, and showing that

his Cook County Circuit conviction in 89-8778 is a conviction for possession of

a controlled substance, and not a conviction for possession with intent to

deliver, as the report currently reflects. William argues that the error in the

presentence investigation report regarding his conviction in 89-8778 is a

purely clerical error and thus can be corrected pursuant to Rule 36.

However, because the error was known to all parties and to the court at the

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time that Williams was sentenced, it is the government’s position that the

error is more than clerical and cannot be corrected pursuant to Rule 36.

Williams’ motion should therefore be denied, since this court lacks

jurisdiction to consider it.

      1.     Procedural History

      As the court may recall, the procedural history of Williams’ case is set

forth in some detail in the government’s July 3, 2014 response to Williams’

May 7, 2014 Rule 36 motion.        R. 2013.   In its response, the government

argued that the Rule 36 motion was actually a second or successive § 2255

petition, since Williams sought to correct his presentence investigation report

and to be resentenced. Id. The government further argued that the court

lacked jurisdiction over the motion since Williams had failed to seek

permission from the Seventh Circuit to file a second or successive motion.

Id.

      On November 12, 2014, this court denied Williams’ Rule 36 motion for

lack of jurisdiction, and noted in the order that it “strongly recommend[ed]

that the Bureau of Prisons, in classifying Andre Williams, take into

consideration the he is not a ‘career offender,’ and that the PSR incorrectly

labeled him as such.” R. 2016.




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      Williams appealed the decision; on February 20, 2015, the Seventh

Circuit affirmed this court’s decision and declined to issue a certificate of

appealability to Williams.     R. 2017, 2035, 2036, 2037; United States v.

Williams, 777 F.3d 909 (7th Cir. 2015. The Seventh Circuit noted, “. . . nor

does the presentence report contain a clerical error . . .[w]hether the author of

the report accurately understood the nature of one of Williams’s older

convictions (which affect whether he is a career offender) is a substantive

matter . . . it is far too late to revisit [the PSR].” Id. Following the Seventh

Circuit’s decision, Williams moved for a writ of certiorari, which was denied.

Williams v. United States, 2015 WL 1607157 (U.S. May 04, 2015).

      In his current motion, Williams argues that this court may correct what

Williams characterizes as a “purely clerical error” in the presentence

investigation report pursuant to Rule 36. R. 2038 at 2. He states that he is

not asking the court to correct, amend, alter or change his sentence at this

time, and argues that the staff at FCI will continue to classify him as a career

offender until the institution receives an amended version of his presentence

investigation report that reflects that he is not a career offender. Id. at 3.

He therefore seeks an “amended updated version” of his presentence

investigation report, correcting the “clerical” error that classifies him as a

career offender, and showing that his Cook County Circuit conviction in


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89-8778 is a conviction for possession of a controlled substance, and not a

conviction for possession with intent to deliver, as the report currently

reflects.

      2.    Argument

      Fed.R.Crim.P. 36 does not confer jurisdiction on this court to provide

the relief that Williams seeks. Rule 36 provides:

      After giving any notice it considers appropriate, the court may at any
      time correct a clerical error in a judgment, order, or other part of the
      record, or correct an error in the record arising from oversight or
      omission.

      Rule 36 is limited, however, to errors that are truly clerical in nature; it

cannot be used to fix judicial errors. United States v. Lawrence, 535 F.3d

631, 635 (7th Cir. 2008). As the Seventh Circuit stated regarding Williams’

appeal of his earlier Rule 36 motion, Williams’ presentence report does not

contain a clerical error, since “[w]hether the author of the report accurately

understood the nature of one of Williams's older convictions (which affects

whether he is a career offender) is a substantive matter.” United States v.

Williams, 777 F.3d 909, 910 (7th Cir. 2015).           Accord United States v.

Daddino, 5 F.3d 262, 264 -265 (7th Cir. 1993)(“if the error or omission is

indeed a judicial error, rather than a clerical mistake, it is not within the

purview of [Rule 36]”). See also United States v. Kaye, 739 F.2d 488, 491 (9th

Cir.1984) and Charles A. Wright, Federal Practice and Procedure: Criminal

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2d § 611 (1982) (“[a]n error arising from oversight or omission by the court,

rather than through a clerical mistake, is not within the purview of [Rule

36]”); United States v. Guevremont, 829 F.2d 423, 424, 426 (3rd

Cir.1987)(errors were made in the oral sentencing order arose from an

oversight or omission by the court, rather than through a clerical mistake,

and thus are not within the purview of Rule 36); United States v. Ferguson,

918 F.2d 627, 630 (6th Cir.1990) (substantive alterations in sentences held

“not within the ambit of Rule 36”); United States v. Werber, 51 F.3d 342, 347

(2d Cir. 1995) (Rule 36 was intended to allow correction of clerical errors, not

to allow reassessment of the merits of an earlier decision after the time for

reconsideration or appeal ha[s] elapsed; Rule 36 is not a vehicle for the

vindication of the court's unexpressed sentencing expectations, or for the

correction of errors made by the court itself.)

      Williams argues, based on case law from the Fifth, Eighth, Ninth and

Tenth Circuits, that the error at issue can be corrected at any time pursuant

to Fed.R.Crim.P. 36. None of his cases control over the prevailing Seventh

Circuit case law, and all of it can be distinguished from the facts of his case.

      Williams cites United States v. Mackay, 757 F.3d 195 (5th Cir. 2014) in

support of his position.    R. 2038 at 2.     In Mackay, the cover sheet of a

defendant’s presentence investigation report erroneously listed the offense of


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conviction as conspiracy to possession with intent to distribute cocaine, when

in fact, the conspiracy involved marijuana. Id. at 196. The error did not

affect the defendant’s sentence.     Id.       Thirteen years later, the defendant

moved pursuant to Rule 36 to correct the error, which caused him harm

because the Bureau of Prisons used the PSR for classifications and

designations.   Id.   The district court refused to correct the misstatement

because, in its opinion, “the PSR is not a court order that can be corrected

under Rule 36.” Id. On appeal, the Fifth Circuit reversed, finding that the

PSR could be corrected under Rule 36, but cautioned that “Rule 36 is not a

perpetual right to apply different legal rules or different factual analyses to a

case . . .[i]t is only mindless and mechanical mistakes and no new additional

legal perambulations which are reachable through Rule 36.”             Id. at 200,

citations omitted.

      The error in Mackay was not discovered for thirteen years after the

sentencing, whereas in Williams’ case the error was known to all parties at

the time of Williams’ sentencing. Williams’ attorney failed to move to correct

the PSR to properly reflect the nature of the prior conviction at issue, and

failed to object to his classification as a career offender at the time of

sentencing. The probation office, the government and the court also did not

seek to remedy the error at the time of Williams’ sentencing. Even if it were


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prevailing case law from this jurisdiction, Mackay is factually distinguishable

from Williams’ situation.

      Williams also cites United States v. Knockum, 881 F. 2d 730 (9th Cir.

1988) for the proposition that Rule 36 permits the attachment of an omitted

sentencing transcript to a presentence investigation report after sentencing.

R. 2038 at 2. At bar, Williams isn’t asking the court to add a document to

the presentence investigation report that was previously erroneously omitted:

he seeks substantive change to the document itself. Knockum doesn’t apply

to his factual scenario.

      Williams also cites United States v. Wach, 907 F.2d 1038, 1041 (10th

Cir. 1990), in which a defendant’s case was remanded pursuant to a direct

appeal because the court’s staff had failed to append to the presentence

investigation report the court’s statement that it would not rely on contested

portions of the report.     The Wach court found that “the district court

committed the technical error of failing to append to the presentence report

its determination not to rely upon controverted matters in passing sentence.”

Id. At bar, Williams’ situation is not a simple omission as was presented in

Wach, and thus, Wach is distinguishable.

       Williams also cites to United States v. Brown, 715 F. 2d 387, 389 n. 2

(8th Cir. 1983) for the proposition that the presentence investigation report


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“is of like kind or character as a judgment or order and is embraced by the

terms ‘other part of the record’ as used in Rule 36.” R. 2038 at 3.            This is a

misquote of Brown. See 715 F. 2d 387.

      Moreover,    it   does   not   appear        that   Williams’   career   offender

classification, in and of itself, is affecting his current security level or custody

classification.   See Exhibit 1, email from Ryan Nelson, Senior Attorney,

Bureau of Prisons. Further, the Bureau of Prisons has an administrative

procedure for addressing errors in documents such as presentence

investigation reports. See Exhibit 2, Program Statement 5800.7, at p. 11.

Finally, Williams may want to pursue a motion via 28 U.S.C. §3582 with the

Bureau of Prisons. Though Mr. Nelson opined that this remedy appears to

apply to elderly or ill inmates, it might be worth pursuing. See Exhibit 3,

Compassionate       Release/Reduction         in      Sentence:       Procedures     for

Implementation of 18 U.S.C. §§ 3582(c)(1)(A) and 4205(g).

      The government is mindful that Williams’ situation is not of his own

making.     Unfortunately, the district court does not have jurisdiction to

remedy the situation at this time.        The government again suggests that

Williams pursue relief via the executive branch through a motion for partial

clemency. See United States v. Wyatt, 672 F.3d 519, 524 (7th Cir. 2012).




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                                CONCLUSION

        WHEREFORE, the government respectfully requests that Williams=

renewed Rule 36 motion be denied, since this court currently lacks

jurisdiction to consider it.

                                            Respectfully submitted,


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                                            United States Attorney


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Date:    May 13, 2015




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